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           EXHIBIT 1
         Case 2:18-cv-00483-JRG Document 151-2 Filed 02/10/20 Page 2 of 3 PageID #: 4035




From:                                Robert Harkins <bobh@ruyakcherian.com>
Sent:                                Thursday, February 6, 2020 11:24 AM
To:                                  Eric Findlay; Sunny Cherian
Cc:                                  Calvin Capshaw; Elizabeth DeRieux; Ron Wielkopolski; Debby Gunter
Subject:                             RE: Luminati v BIScience


Eric,

As to the items you raise below:

       1. We explained earlier this week that we do not represent EMK and do not have their permission to share the
          deposition transcripts containing confidential information with anyone including BI Science.
       2. I believe we also told you earlier this week that the terms of the dismissal, etc., in Tesonet are under seal and
          strictly confidential to both sides. We cannot waive Tesonet’s confidentiality nor violate the Court’s order that
          maintains the proceedings under seal, so we also cannot provide that information to you either.

As for a time to meet and confer, Sunny is out sick today so we will have to get back you.

Regards,

Bob Harkins
bobh@ruyakcherian.com
(510) 944-0187




From: Eric Findlay <EFindlay@FindlayCraft.com>
Sent: Thursday, February 6, 2020 7:38 AM
To: Sunny Cherian <sunnyc@ruyakcherian.com>; Robert Harkins <bobh@ruyakcherian.com>
Cc: Calvin Capshaw <ccapshaw@capshawlaw.com>; Elizabeth DeRieux <ederieux@capshawlaw.com>; Ron Wielkopolski
<ronw@ruyakcherian.com>; Debby Gunter <dgunter@findlaycraft.com>
Subject: RE: Luminati v BIScience

Sunny and Bob,

Following up on this. Let me know your position.

Thanks,

Eric


Eric H. Findlay
Findlay Craft, P.C.
102 N. College Avenue, Suite 900
Tyler, Texas 75702
                                                               1
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(903) 534-1100 M: (903) 571-6963
www.findlaycraft.com

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From: Eric Findlay
Sent: Tuesday, February 4, 2020 12:51 PM
To: Sunny Cherian <sunnyc@ruyakcherian.com>; Robert Harkins <bobh@ruyakcherian.com>
Cc: Calvin Capshaw <ccapshaw@capshawlaw.com>; Elizabeth DeRieux <ederieux@capshawlaw.com>; Ron Wielkopolski
<ronw@ruyakcherian.com>; Debby Gunter <dgunter@findlaycraft.com>
Subject: Luminati v BIScience

Sunny and Bob,

Trust you had a safe trip home.

Following up on some issues from yesterday:


        Please let me know by EOB tomorrow if you will produce:
            o the EMK depositions from the Tesonet case;
            o the settlement, license and/or resolution agreement with Tesonet. I note that the case has now
                 been dismissed with prejudice.


If the answer is no to either of the above items, please provide a time on Thursday or Friday when you are
available to meet and confer.

Also, please let us know when you anticipate producing Luminati’s responsive emails per our list of custodians
and search terms.

Thank you,

Eric


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